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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

RICHARD HARTMAN,

               Plaintiff,

v.                                                        CASE NO. 8:14-cv-00931-MSS-TBM

HSBC CARD SERVICES, INC.,

            Defendant.
_________________________________/

       STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE AS TO
                        HSBC CARD SERVICES, INC.

       It is hereby stipulated and agreed, by and between the parties and/or their respective

counsel(s) that the above-captioned action is voluntarily dismissed, with prejudice, as to HSBC

Card Services, Inc. pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). Each party is to bear their own

fees and costs except as otherwise agreed between the parties prior to this stipulation.

Dated: May 13, 2015                   Respectfully Submitted,

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/s/ Gus M. Centrone                           /s/ Brian Frontino
_______________________________               __________________________________
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Attorneys for Plaintiff
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 13, 2015, I presented a true and correct copy of the

foregoing to the Clerk of the United States District Court for the Middle District of Florida,

Tampa Division, for filing and uploading to the CM/ECF system.


                                           _/s/ Gus M. Centrone_________________
                                           GUS M. CENTRONE, ESQ.
